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               IN THE COUNTY COURT OF THE TENTH JUDICIAL CIRCUIT
                        IN AND FOR POLK COUNTY, FLORIDA

Michelle Detwiler,

               Plaintiff,

vs.                                                   Case No.: 2016SC-003014-0000-WH

EYM Diner of Florida, LLC
d/b/a Denny’s,

            Defendant.
______________________________/

                       NOTICE OF FILING NOTICE OF REMOVAL


TO:    Clerk of the Circuit Court
       Polk County
       255 N Broadway Ave
       Bartow, FL 33830

       PLEASE TAKE NOTICE that Defendant EYM Diner of Florida, LLC d/b/a Denny’s,

(hereafter “Defendant”), files a Notice of Filing Notice of Removal pursuant to the provisions of

28 U.S.C. §§1441(a) and 1446(a). A copy of said Notice of Removal (without attached portions of

the court file in this case) is attached hereto pursuant to 28 U.S.C. §1446(d).

                                      Respectfully submitted,

                                        /s/ Andrew W. McLaughlin
                                      Andrew W. McLaughlin, Esq. FBN: 96454
                                      Jeffrey W. Gibson, Esq., FBN: 0568074
                                      Thomas R. Farrior, Esq., FBN: 0111965
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                                    Secondary emails: tmh@macfar.com
                                                       ala@macfar.com


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the forgoing has been furnished via

Electronic Filing through Florida E-Portal to Michael L. Grossman, Esquire, 350 N. Lake Destiny

Road, Maitland, FL 32751 on this 1st day of September, 2016.



                                   Respectfully submitted,

                                      /s/ Andrew W. McLaughlin
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Case Type : DMGS - DAMAGES (SC)
Section : W3 ROBERT GRIFFIN
Case Style : DETWILER, MICHELLE vs. EYM DINER OF FLORIDA LLC DBA DENNYS
Disposition : Open
                                                                                                                Print Case
                                                                                                                Summary




   Dockets         Parties          Hearings           Financial      Disposition


                 Available for viewing                                     Not available for viewing

                 Available for viewing after manual review                 Manual review pending or completed

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                     Reason: PRTC

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    08/05/2016       COMPLAINT                                                                          12      3

    08/05/2016       PLAINTIFF MICHELLE DETWILER'S NOTICE OF SERVING                                     8      4
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                     LLC D/B/A DENNY'S

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                     DENNY'S

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                     D/B/A DENNY'S

    08/05/2016       SUMMONS (TO BE ISSUED BY CLERK)                                                     3      7

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